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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,

                                             Plaintiff,

                                                                     ORDER

                                                                     03-CR-6033L

                           v.

TOMMY HARDY,

                              Defendant.
________________________________________________


       Three defendants are charged in this indictment. On August 19, 2005, the Government orally

moved to sever the case against defendant Tommy Hardy (“Hardy”) because of a Bruton issue.1 The

Government intends to offer a statement at trial made by Hardy which implicates one of his co-

defendants. The Government’s motion is granted, and the trial of Tommy Hardy will be severed

from the trial of the remaining two defendants. Trial concerning Hardy is scheduled for September

23, 2005.

       IT IS SO ORDERED.



                                             _______________________________________
                                                      DAVID G. LARIMER
                                                    United States District Judge

Dated: Rochester, New York
       August 19, 2005.


       1
           Bruton v. United States, 391 U.S. 123 (1968).
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